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                     UNITED STATES DISTRICT COURT
                        DISTRICT OF MINNESOTA



UNITED STATES OF AMERICA,

                   Plaintiff,



v.                                    ORDER
                                      Criminal File No. 11-280 (MJD/JSM)

(16) ERIKA ROMERO MONTENEGRO,

                   Defendant.

Steven L. Schleicher, Assistant United States Attorney, Counsel for Plaintiff.

Erika R. Montenegro, pro se.

      The above-entitled matter comes before the Court upon the United States’

Motion to Confirm Waiver of the Attorney-Client Privilege [Docket No. 847]

dated October 21, 2013. This motion was in response to Defendant’s Motion

under 28 U.S.C. § 2255 to Vacate, Set Aside, or Correct Sentence [Docket No. 845],

which raised the grounds of ineffective assistance of counsel. Specifically,

Defendant claims that her defense counsel, Peter B. Wold, did not adequately

communicate with her about the repercussions of pleading guilty, did not

provide her with a professional interpreter, and refused to appeal her case.


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Defendant also filed a Confirmation of Waiver of Attorney Client Privilege

[Docket No. 849] on November 12, 2013.

       A client may expressly or impliedly waive protection of attorney-client

privilege. See Tasby v. United States, 504 F.3d 332, 336 (8th Cir. 1974). One

circumstance that may support a conclusion that the privilege has been waived is

if a client attacks his or her “attorney’s conduct and calls into question the

substance of their communications.” Id. Allegations like these “raise[] the

specter of ineffectiveness or incompetence,” and “a client is not free to make

various allegations of misconduct and incompetence while the attorney’s lips are

sealed . . . .” Id.

       Here, Defendant has raised issues of ineffectiveness and incompetence by

filing a § 2255 motion based on ineffective assistance of counsel. Additionally,

her specific allegations have called into question the substance of

communications between her and Mr. Wold. Accordingly, Defendant’s § 2255

motion waives the attorney-client privilege to allow Mr. Wold to defend against

Defendant’s claims. Additionally, Defendant has shown that she expressly and

voluntarily waives the privilege by filing her Pro Se Confirmation of Waiver of

Attorney Client Privilege. The Court thus concludes that these acts establish



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Defendant’s waiver of Defendant attorney-client privilege in this matter, and the

Government’s Motion to Confirm Waiver of Attorney-Client Privilege should be

granted. Therefore, Peter B. Wold may provide an affidavit to the United States

and, if necessary, testify at a hearing to defend against Defendant’s claims.

      Accordingly, based upon the files, records, and proceedings herein, IT IS

HEREBY ORDERED that the Government’s Motion to Confirm Waiver of

Attorney-Client Privilege [Docket No. 847] is GRANTED.




Dated: November 14, 2013              s/ Michael J. Davis
                                      Michael J. Davis
                                      Chief Judge
                                      United States District Court




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